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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

    UNITED STATES OF AMERICA
                                                 Case No. 19 CR 567
           v.
                                                 Honorable Harry D. Leinenweber
    ROBERT SYLVESTER KELLY, aka
    “R. Kelly,”
    DERREL McDAVID, and
    MILTON BROWN, aka “June Brown”

              GOVERNMENT’S RESPONSE TO DEFENDANT
          DERREL MCDAVID’S MOTIONS TO COMPEL DISCOVERY1

         The UNITED STATES OF AMERICA, through its attorney, JOHN R.

LAUSCH, JR., United States Attorney for the Northern District of Illinois, hereby

responds to Defendant Derrel McDavid’s Motion to Compel Discovery [R. 247], and

Supplemental Motion to Compel Discovery [R. 252].

         Defendant McDavid’s motions to compel discovery should be denied. As set

forth more fully below, defendants ask the Court to authorize a fishing expedition

into matters as wide-ranging as “DOJ policies and procedures governing the retention

of data,” “an explanation” for a victim’s nickname, and toll records reflecting

communications between the government and potential witnesses. They attempt to

justify this expedition based upon two sets of materials previously disclosed to the

defense by the government: (a) email exchanges through which an author provided to

the government an about-to-be-published manuscript about R. Kelly; and (b) text



1During the pretrial conference held on August 3, 2022, defendant Robert Sylvester Kelly
orally joined McDavid’s Motion to Compel Discovery. Subsequently, in a separate motion for
discovery (R. 254), Kelly joined McDavid’s Supplemental Motion for Discovery.

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messages between a prosecutor and one of Kelly’s victims, primarily scheduling later

calls or meetings. Neither set of materials provides a basis for the discovery

defendants seek. Moreover, nothing in Rule 16, Brady, or the Jencks Act authorizes

defendants’ broad requests. Defendants’ motion should be denied.

                                  BACKGROUND

      The Charges

      The superseding indictment alleges that, from approximately 1996 to 2001,

Robert Sylvester Kelly engaged in unlawful sexual conduct with minors, including

minors referred to in the indictment as Minor 1, Minor 3, Minor 4, Minor 5, and Minor

6. R. 93. As part of this abuse, Kelly recorded himself engaged in sexually explicit

conduct with minors on videotape. Id. at 1-4; 8, 17-19. According to the indictment,

Derrel McDavid—who worked as Kelly’s accountant and business manager from

approximately 1991 until 2014— and others knew of Kelly’s unlawful sexual contacts

with minors, including, specifically, that Kelly had recorded himself engaged in such

conduct on videotape. R. 93 at 8. McDavid conspired with Kelly, and with others, to

protect Kelly from allegations of child sexual abuse and exploitation, including by,

inter alia, concealing evidence and pressuring others to do so, and paying others to

collect and return incriminating videotapes. Id. at 8-13. Based on this conduct,

McDavid and Kelly, and another of Kelly’s employees, Milton (June) Brown, are

charged in this case with federal offenses including sexual exploitation of a minor

(Kelly), conspiracy to obstruct justice (McDavid and Kelly), conspiracy to receive child

pornography (Kelly, McDavid, Brown), receipt of child pornography (Kelly, McDavid),

and enticement of minors to engage in unlawful sexual conduct (Kelly).
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        Discovery

        Beginning on August 2, 2019, shortly after the indictment in this case was

returned, the government began a rolling production of documents and other

materials, in accordance with Fed. R. Crim. P. 16. From the beginning, the

government’s document productions far exceeded its Rule 16 obligations; for example,

the government included in its first production numerous witness statements,

investigative reports, and grand jury transcripts. Collectively, the government has

produced to defendants approximately 12,451 files (including documents, images,

spreadsheets, and audio/video recordings) totaling 49.54 GB, as well as 7,996 files

totaling nearly 11.8 GB of materials which were received from the U.S. Attorney’s

Office for the Eastern District of New York on March 8, 2022.

        Production of Documents Relating to Author Jim DeRogatis

        On August 1, 2022, the government provided defendants with materials

documenting communications on April 16 and 30, 2019, between Angel Krull, an

Assistant United States Attorney formerly assigned to this case,2 and Jim DeRogatis,

an investigative reporter and author who had written a book titled, Soulless: The

Case Against R. Kelly (“Soulless”), based on his long-term investigation of allegations

of child sexual abuse by Kelly. In a telephone conversation with AUSA Krull,

DeRogatis agreed to provide the government with a PDF copy of his book, which was




2 AUSA Angel Krull was assigned to this case while working at the Chicago U.S. Attorney’s
Office. On November 5, 2020, AUSA Krull left the Chicago U.S. Attorney’s office to care for a
family member suffering from cancer. Subsequently, she joined the U.S. Attorney’s Office for
the District of Connecticut.

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then in final manuscript form. DeRogatis’s book was released to the public on June

4, 2022.

      As documented by the records produced to defendants, email messages relating

to the delivery of DeRogatis’s book were exchanged using a Gmail account with the

email address, “piedpiper312@gmail.com,” subscribed to under the name “Demetrius

Slovenski.” This email account was created by, and at the suggestion of, a Homeland

Security Investigations (“HSI”) agent. The emails, four in number, were saved and

subsequently preserved as PDF documents by an HSI employee:

      (1)   The first email was sent by AUSA Krull to DeRogatis on April 16,
      2019, at 5:33 p.m. AUSA Krull thanked DeRogatis for speaking earlier
      that day, and told him he could send his book using this email address.
      The email was signed, “Angel.”

      (2)   The second email was sent by DeRogatis approximately 20
      minutes later, at 5:56 p.m. In this email, DeRogatis forwarded a PDF
      copy of the “Soulless” manuscript, asked for confirmation of receipt of
      the manuscript, and offered to “chat” if the AUSA had any questions.

      (3)    The third email was sent to by AUSA Krull to DeRogatis
      approximately one hour later, at 7:07 p.m. The email confirmed receipt
      of the manuscript, and was signed, “Angel.”

      (4)    The fourth and final email was sent by DeRogatis on April 30,
      2019, at 1:43 p.m. In this email, DeRogatis, asked whether the book had
      been of any help, and added that he had received a call “a little bit ago
      from a prominent ‘enabler’ mentioned [in the book], . . . who [was]
      convinced he has become a target . . . .” DeRogatis commented that the
      enabler “sounded very shook up,” and had reported that the
      investigation appeared to be “moving fast.” DeRogatis explained the
      purpose of his email this way: “I wouldn’t be a reporter if I didn’t check
      in!”

      Although the two emails sent by AUSA Krull reflected the name of the sender

as “Demetrius Slovenski,” both were signed using AUSA Krull’s true name, “Angel.”



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The other two emails were sent by DeRogatis, who was fully aware of the identity of

the account user. In the first, DeRogatis forwarded the manuscript, and requested

confirmation of its receipt. The second email was also limited in scope: DeRogatis

inquired whether the book had been helpful, and “checked in” with AUSA Krull in

his capacity as a reporter.3

        The telephone conversation referred to in AUSA Krull’s first email was brief

and focused on the prospect of DeRogatis sharing the manuscript of his book. AUSA

Krull did not discuss the investigation with DeRogatis and did not provide him with

any confidential details about the case. Moreover, AUSA Krull did not respond to

DeRogatis’s April 30, 2019, email, or to two subsequent telephone messages he left

for her after she had left the U.S. Attorney’s Office for the Northern District of Illinois.

There were no further communications regarding this matter between DeRogatis and

AUSA Krull or any other employee or agent of the Chicago U.S. Attorney’s office, and

neither AUSA Krull nor any other AUSA or government agent has ever provided

DeRogatis with any confidential information regarding this matter at any time. No

other private or personal email accounts were opened or used by agents or prosecutors

as part of the investigation or prosecution of this case.

        As the government has previously advised defendants and this Court, the

government has no intention of calling DeRogatis as a witness; nor is the government


3DeRogatis has made public statements regarding his communications with the prosecutors,
indicating       the       limited     nature       of       their       contacts.        See
https://www.chicagotribune.com/news/criminal-justice/ct-r-kelly-chicago-federal-pretrial-
conference-20220803-cvtntra5vfdpvktzgkt456f5eu-story.html;
https://chicago.suntimes.com/2022/8/3/23290251/r-kelly-prosecutor-accused-using-fake-
name-email-communicate-journalist (both accessed Aug. 8, 2022).

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aware of any information in the Soulless manuscript that is in any way exculpatory

or otherwise helpful to the preparation of the defendants’ defense. Nevertheless, the

government disclosed the manuscript and related emails to defendants in an

abundance of caution.4

        Production of Text Messages Involving Minor 1

        On June 2, 2022, the government produced to defendants records documenting

text messages between AUSA Krull and Minor 1 during the period July 7, 2019,

through July 20, 2020. The text messages—detailed in the table attached hereto as

Exhibit A—consist of short messages focused almost exclusively on arranging

telephone calls and visits, which were sent and received using AUSA Krull’s personal

cell phone. As reflected in the records produced to defendants, the text messages were

preserved for the file as screenshots. AUSA Krull preserved these screenshots and

placed them in the case file before she left the office so that they could be produced in

discovery in the case.

        Defendants’ Motions to Compel Additional Discovery

        In response to these disclosures, McDavid filed his Motion to Compel

Discovery, which Kelly subsequently joined, seeking extensive discovery concerning

communications with DeRogatis and the private email account used to exchange the

four emails described above. R. 247. The motion sets forth multiple requests for an


4  None of the members of the current prosecution team were assigned to this case when the
email account used to communicate with DeRogatis was created. The current team members
first learned of the above emails as a result of the government’s review of HSI correspondence
records for potential disclosure to the defendants in advance of trial. Because the documents’
nature and origin were unclear, the documents were not immediately produced when they
were first discovered in May 2022.

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extensive quantity of information and documents, including, in summary: (1) all

reports and records (including toll, text, and social media records) of any

communication between DeRogatis and any employee or agent of the Chicago U.S.

Attorney’s Office concerning Robert Kelly or Derrel McDavid; (2) all communications

between any prosecution team member with any potential witness in this case using

a personal email address; (3) an explanation of who, other than Ms. Krull, was aware

of the use of the private email account to communicate with Derogatis, and whether

the communication was approved by supervisors at the U.S. Attorney’s Office; (4) an

explanation of why screenshots of the communications with DeRogatis were made at

the time they were made, and who was involved in the decision to disclose the

screenshots to the defense in August of 2022; and (5) all DOJ or USAO policies and

procedures governing the retention of account data, including, but not limited to,

messages sent, received, and deleted, as well as the access logs for the private email

account used to communicate with DeRogatis and any other personal account used to

communicate with potential witnesses.

      On August 5, 2022, McDavid filed a Supplemental Motion to Compel Discovery,

R. 252, which Kelly also joined, seeking documents and information concerning

communications between AUSA Krull and other members of the prosecution team

and the alleged victims of defendant Kelly’s offenses. In summary, defendants’ wide-

ranging requests include requests for: (1) all communications between AUSA Krull

and Minor 1 or any other civilian witness at any time, whether or not the government

intends to call them as a witness at trial; (2) an explanation for why the name “Boss



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 Baby” (or “BB” for short) was used, and why and when it was input in AUSA Krull’s

 I-phone; (3) all contacts between Agent Amalia Molina and Minor 1 or any other

 civilian potential witness in this case; and (4) all communications exchanged between

 AUSA Krull and Agent Molina during this investigation (excluding communications

 regarding other investigations and sensitive matters).

         As discussed below, both motions should be denied.

I.       ARGUMENT

         A.    Applicable Law

         “There is no general constitutional right to discovery in a criminal case . . . .”

 United States v. Vargas, 915 F.3d 417, 421 (7th Cir. 2019) (quoting Weatherford v.

 Bursey, 429 U.S. 545, 559, 97 S. Ct. 837 (1977) (cleaned up and emphasis added)). See

 also United States v. Ruiz, 536 U.S. 622, 629 (2002). The federal government’s

 discovery obligations in criminal cases are generally established by Rules 16 and 26.2

 of the Federal Rules of Criminal Procedure, 18 U.S.C. §3500 (the Jencks Act), as well

 as Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150

 (1972).

         Rule 16(a), in particular, sets forth the grounds upon which a criminal

 defendant may obtain discovery from the government. In relevant part, it provides

 that the government must produce upon request defendant’s statements, as well as

 “books, papers, documents, data, ... or portions of any of these items” if they are

 “within the government’s possession, custody, or control” and either “material to

 preparing the defense,” likely to be used in the government’s case-in-chief at trial, or



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the item was obtained from or belongs to the defendant. Fed. R. Crim. P. 16. Rule 16

also identifies categories of information that are not subject to disclosure. Id.

       Under Brady, the government has a duty to disclose any information in its

possession that is favorable to the defense and material either to guilt or punishment.

Brady, 373 U.S. at 88. Information favorable to the defense includes evidence which

“would tend to exculpate [the defendant] or reduce the penalty,” Brady, 373 U.S. at

87, and evidence regarding the reliability or credibility of a government witness, see

Giglio, 405 U.S. at 154-55.

       Materiality, in this context, means that the discovery sought must

“significantly help in uncovering admissible evidence, aiding witness preparation,

corroborating testimony, or assisting impeachment and rebuttal.” United States v.

Owens, 18 F.4th 928, 935 (7th Cir. 2021) (citing United States v. Gaddis, 877 F.2d

605, 611 (7th Cir. 1989) (citation and internal quotation marks omitted)). This Court

has described material evidence as that which will “enable the accused to

substantially alter the quantum of proof in his favor.” Owens, 18 F.4th at 935 (citing

United States v. Orzechowski, 547 F.2d 978, 984 (7th Cir. 1976) (cleaned up)); see also

United States v. Ross, 511 F.2d 757, 762 (5th Cir. 1975) (“Materiality means more

than that the evidence in question bears some abstract logical relationship to the

issues in the case.”).

       The defendant bears the burden to “make at least a prima facie showing that

the requested items are material to his defense.” Owens, 18 F.4th at 936 (citing

United States v. Thompson, 944 F.2d 1331, 1342 (7th Cir. 1991)). This burden cannot



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be met by “general descriptions or conclusory arguments”; instead, the defendant

must “convincingly explain how [the discovery sought] will significantly help him

uncover admissible evidence, prepare witnesses, or corroborate, impeach, or rebut

testimony.” Id.; United States v. Caputo, 373 F. Supp. 2d 789, 793 (N.D. Ill. 2005)

(collecting cases). See also United States v. Clarke, 979 F.3d 82, 97 (2d Cir. 2020)

(quoting United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir. 1990)), cert. denied,

––– U.S. ––––, 141 S. Ct. 2581 (2021). Additionally, the trial court should “consider

the materials that have already been produced, the availability of the requested

materials from other sources, and the defendant’s own knowledge.” Caputo, 373 F.

Supp. 2d at 794 (citing Ross, 511 F.2d at 763).

      B.     Defendants Have Established No Legal Basis for Obtaining
             Additional Discovery Based on Communications Involving Jim
             DeRogatis.

      Defendants have not come close to establishing a basis for obtaining additional

discovery based on records related to communications with author Jim DeRogatis.

The communications with DeRogatis related to his sharing of a manuscript copy of

his soon-to-be-released book. The government has provided defendants with the

manuscript and the published book has been available to defendants and the public

since June 4, 2019.

      Defendants argue that they are entitled to the additional discovery they seek

because DeRogatis is a potential witness. As the government has advised defendants

and the Court, it has no intention of calling DeRogatis as a witness in its case-in-

chief. Moreover, although defendants vaguely suggest that they may call DeRogatis



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in the defense case, they offer no explanation of the testimony he might give, or how

that testimony would benefit the defense. Given the nature of DeRogatis’s

relationship to the case, it is highly unlikely that he would have any testimony

beneficial to the defense. In any event, the government has produced all records in

its possession related to communications between DeRogatis and members of the

investigation and prosecution teams in this case; nothing more is required.

      Arguing that the government’s use of a private email account to receive

DeRogatis’s manuscript requires “additional investigation,” defendants make

expansive requests for information related to the use that account, including records

relating to internal decision-making and supervision of the use of the account or

similar accounts, and “any and all DOJ policies and procedures” regarding use of

personal email accounts and retention of records related to such use.

      None of the defendants’ requests seek the disclosure of information required

by Fed. R. Crim. P. 16, the Jencks Act, or Brady or Giglio, and none seek information

that has any relevance to the elements of any of the charged offenses. To the contrary,

all of defendants’ requests rest on the faulty premise that the government’s use of the

private email account was deceptive or otherwise improper. As noted above, this

email account was used for the limited purpose of receiving DeRogatis’s book

manuscript; none of the emails exchanged using the account were in any way

deceptive. AUSA Krull did not create the account or decide on the names associated

with it; she signed each of the messages she sent in her own name. DeRogatis was at

all times fully aware that he was communicating with an AUSA assigned to the R.



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Kelly investigation. The government’s communications with DeRogatis and

DeRogatis’s manuscript were disclosed to defendants prior to trial. And the

government has advised that all emails exchanged using the private account were

produced to the defendants, and that no other private email accounts were used in

connection with the investigation or prosecution of this case.

      Defendants offer no legal authority—and the government is aware of none—

supporting their effort to conduct a wide-ranging fishing expedition in the hopes of

turning up evidence of some kind of government misconduct. Defendant has not come

close to establishing that evidence related to the use of a private email account for a

limited purpose in this case could “significantly help in uncovering admissible

evidence, aiding witness preparation, corroborating testimony, or assisting

impeachment and rebuttal”—much less that it would enable defendant to

“substantially alter the quantum of proof in his favor.”

      Finally, defendants also seek “any and all records of communications between

any member of the prosecution team with any potential witness in this case not

memorialized in an official government report.” Unsurprisingly, once again

defendants offer no legal authority for this broad request, and for the reasons

discussed above, the government’s use of a private email account does not justify it.

As stated above, the government has already produced to the defendants all reports

and grand jury testimony in its possession reflecting relevant statements of potential

government witnesses, even though pretrial disclosure of such materials was

required under neither the Jencks Act nor Fed. R. Crim. P. 16 (a)(2), which exempts



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from disclosure reports, memoranda, or other internal government documents made

by a government agent in connection with investigating or prosecuting a case. Where,

as here, the relevant official reports and transcripts have been disclosed, nothing

more is required.

      Contrary to defendants’ suggestion, as a general matter, members of the

prosecution team are not obligated to prepare a report of each and every contact or

communication they have with a potential trial witness. What is required is that

relevant statements of witnesses be preserved and produced to defendants no later

than after the witness has testified. Here, even though the government has no

intention of calling DeRogatis as a witness, it produced to defendants its

communications with DeRogatis and the manuscript he provided in an abundance of

caution. The government has fulfilled this obligation under applicable law by

providing all records of relevant witness statements in its possession prior to trial,

and it recognizes its continuing duty to expeditiously relay any new, relevant

statements made by its witnesses. Defendants are entitled to nothing more.

Accordingly, defendants’ motion to compel discovery related to communications with

Jim DeRogatis should be denied.




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       C.    Defendants Have Established No Legal Basis for Obtaining
             Additional Discovery Related to Scheduling Texts.

      Likewise, defendants have not come close to establishing a basis for obtaining

additional discovery based on the text messages exchanged between AUSA Krull and

Minor 1. To begin, none of the information defendants seeks is discoverable under

Fed. R. Crim. P. 16, the Jenks Act, or Brady or Giglio. To the contrary, as discussed

above, the government has produced all relevant statements in its possession made

by the witnesses it intends to call in its case in chief—including, to any extent they

contain relevant statements, the text messages at issue in defendants’ motion—as

well as all evidence in its possession that may be viewed as exculpatory, impeaching

of its witnesses, or material to the preparation of the defendants’ defenses. Nothing

more is required.

      As was the case with defendants’ requests with respect to the DeRogatis

emails, defendants’ motion for additional discovery related to communications with

Minor 1 is grounded on the contention that the text messages between AUSA Krull

and Minor 1 produced by the government suggest that AUSA Krull may have

attempted to improperly influence Minor 1’s testimony in this case. This contention

is refuted by substance of the subject text messages, as well as the fact that, at the

time of the subject texts, Minor 1 had already testified to the grand jury.

      As reflected in the texts themselves, they relate almost exclusively to the

scheduling of phone calls, meetings, and the trial. See Ex. A. For example, in the first

text message, sent on July 7, 2019, AUSA Krull sought to set up a meeting with Minor

1, noting that she was texting because Chad [the case agent], who was then on

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vacation, had indicate that Minor 1 wanted to meet that week. See Ex. A, infra, at 16.

All of the texts that followed on July 7, 8, and 9 discuss the time and location of the

proposed meeting. Id. Similarly, when on January 17, 2020, Minor 1 told AUSA Krull

that she had “some upcoming things to update on,” and agreed to meet the following

week, AUSA Krull said that she would check and let her know what day worked for

her and Amalia, a case agent. See Ex. A, infra, at 21. The nineteen texts that followed

concerned the date and location of the meeting. See id., infra, at 21-23.

       Moreover, the texts generally indicate that the phone calls and meetings being

scheduled were not private meetings or calls between AUSA Krull and Minor 1, but

rather, meetings and calls in which an agent or other office representative would also

be present. In the texts, AUSA Krull repeatedly made reference to needing to reach

out to an agent to be on the call or at the meeting before she (AUSA Krull) could speak

with Minor 1. Indeed, many of the texts mentioned government agents or employees

who would participate by name; in others, AUSA Krull used the term “we” in

discussing logistics. For example, when AUSA Krull texted Minor 1 on August 21,

2019, she asked whether she was “[f]ree for a call from me and Felice” (the U.S.

Attorney’s Office’s victim-witness coordinator). See Ex. A, infra, at 20. Similarly,

when Minor 1 texted AUSA Krull to see if she could take a call on February 24, 2020,

AUSA Krull answered, “Sure but I have to get Amalia or Melissa [case agents] on the

line. Let me check if they are free.” See id., infra, at 22.

       Defendants’ suggestions that AUSA Krull’s text communications with Minor

1, and/or her recording of Minor 1’s telephone number in her telephone contacts under



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the name “Boss Baby,” were improper are equally baseless. Although there is no

requirement that AUSAs or agents document every non-substantive contact they

have with a potential witness, AUSA Krull preserved all her case-related text

communications in screenshots, and all of them have been produced to defendants.

As for the use of the term “Boss Baby” or “BB” for short, there is nothing improper

about AUSA Krull’s identifying Minor 1 in her phone as “Boss Baby,” rather than

using the victim’s true name; nor is there anything improper about AUSA Krull’s

limited use of that nickname in referring to or communicating with Minor 1.

        Finally, defendants claim that Minor 1’s sharing of photographs with a case

agent and AUSA Krull indicates the formation of an unduly close relationship which

may have led to “improper influence” of Minor 1’s testimony. This claim is baseless.

The photographs in question were professional photos of Minor 1 which Minor 1

shared with many people, in celebration of her joy in being an expectant mother. The

reaction AUSA Krull shared reflected nothing more than sincere happiness for a

person who had suffered a great deal, but who was now experiencing great personal

joy. AUSA Krull’s spontaneous reaction was natural and in no way improper.

        In sum, the text messages produced to defendants in no way suggest any

impropriety or provide a basis for any further discovery on the subject, and the

defendants’ efforts to attack the government personally or discourage a testifying

victim should not be countenanced.5 Defendants are free to explore the issue of bias




5Defendants’ inflammatory and wholly careless suggestion that the departures of AUSA
Krull and Agent Amalia Molina were due to misconduct is baseless and improper. In fact, as
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in their cross-examination of Minor 1, and they have no need for any additional

discovery to do so—particularly in light of the vast quantity of information and

documents already produced to them in discovery and available to them through

other means. Accordingly, defendant’s motion for additional discovery related to

communications with Minor 1 should be denied.

                                     CONCLUSION

       For the reasons stated above, the Court should deny defendants’ Motion to

Compel Discovery, and Supplemental Motion to Compel Discovery.

                                           Respectfully submitted,

                                           JOHN R. LAUSCH, JR.
                                           United States Attorney

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discussed above, AUSA Krull left the office to care for a family member suffering from cancer.
Agent Molina was transferred to another location as a result of a promotion.

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